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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
        v.                                      :          Crim No. 1:22-cr-00354-RCL
                                                :
RICHARD SLAUGHTER, and                          :
CADEN PAUL GOTTFRIED,                           :
                                                :
             Defendants.                        :

                  UNITED STATES’ RESPONSE IN OPPOSITION TO
               DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE ALL
              DISCUSSION OF SIGNS, BARRICADES, ANNOUNCEMENTS,
             AND BAD ACTS NOT SEEN OR COMMITTED BY DEFENDANTS

       The United States of America respectfully submits this response in opposition to

Defendants’ “Motion in Limine to Preclude All Discussion of Signs, Barricades or

Announcements Not Seen by Defendants as well as All Discussion of Bad Acts, Crimes, or Guilt

by People Other than Defendants” (“the Motion,” Doc. 69.). Slaughter and Gottfried (“the

defendants”) request that the Court preclude from trial “any evidence, discussion, or argument

regarding signs, fencing, dispersal announcements, barricades or other barriers” unless the

government makes a showing that the defendants were “in a place to clearly and obviously witness

such features.” Defendant’s Motion, Dkt. 69, at 1. They also seek to preclude the government from

offering evidence or testimony “that others may have committed bad acts or crimes as a way to

impose guilt” on the defendants. Id at 2. Defendants’ Motion should be denied.

                                         ARGUMENT

       A. Implements of the restricted perimeter are relevant and admissible, regardless
          of whether the defendants observed those particular implements.

       The defendants first argue that evidence of the implements of the restricted perimeter –

barricades, bike rack fencing, signage, and the like – should be excluded unless the defendants
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personally observed each of those implements. This argument should be rejected, as it ignores the

relevance of that evidence to proving essential elements of the § 1752 offenses that the government

must prove beyond a reasonable doubt.

       The defendants are charged with, among other offenses, violations of 18 U.S.C.

§§ 1752(a)(1), (a)(2), and (a)(4), offenses involving their presence within the restricted area arising

from the Vice President’s temporary visit to the Capitol on January 6, 2021 for proceedings to

certify the Electoral College vote. The elements for each of these offenses are as follows:

       18 U.S.C. § 1752(a)(1) (Counts 7 and 8):

       1)      The defendants entered or remained in a restricted building or grounds
               without lawful authority to do so.

       2)      The defendants did so knowingly.

       U.S.C. § 1752(a)(2) (Counts 9 and 10):

        1)     The defendants engaged in disorderly or disruptive conduct in, or within such
               proximity to, any restricted building or grounds;

        2)     The defendants’ conduct occurred when, or so that, their conduct in fact impeded
               or disrupted the orderly conduct of Government business or official functions; and

        3)     The defendants did so knowingly, and with the intent to impede or disrupt the
               orderly conduct of Government business or official functions.

       18 U.S.C. § 1752(a)(4) (Counts 11 and 12):

        1)     The defendants engaged any act of physical violence against any person or
               property in any restricted building or grounds; and

        2)     The defendants did so knowingly.

In Slaughter’s case, the government must also prove that he committed violations of 18 U.S.C. §§

1752(a)(1), (a)(2), and (a)(4) while using or carrying a deadly or dangerous weapon.




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       Each offense requires the government to prove both the objective existence of a restricted

building or grounds, the defendants’ actions within such building or grounds, and that the

defendants’ actions occurred knowingly.

       By law, “the term ‘restricted buildings or grounds’ means any posted, cordoned off, or

otherwise restricted area—(B) of a building or grounds where the President or other person

protected by the Secret Service is or will be temporarily visiting.” 18 U.S.C.

§ 1752(c)(1)(B). The government must prove—independently—that the defendants entered or

remained in an area that was posted, cordoned off, or otherwise restricted, 18 U.S.C.

§ 1752(a)(1), committed disorderly or disruptive conduct within such area, 18 U.S.C.

§    1752(a)(2),      and     committed      violence     within     such     area      18   U.S.C.

§ 1752(a)(4).

       Next, the government must show that the defendants committed their acts knowingly. It is

within this knowingly element that the defendants seem to argue that the government must “prove

that Defendants Slaughter and Gottfried knew they were in an unauthorized area or areas.”

Defendant’s Motion at 2. Certainly, this would include evidence of signs, fencing, dispersal

announcements, barricades, or other barriers to show the defendants’ knowledge. An apt example

can be found in United States v MacAndrew, No. 21-cr-730-CKK, January 17, 2023, 2023 WL

196132. In MacAndrew, Hon. Colleen Kollar-Kotelly found:

                [The defendant’s] knowledge, like a snowball rolling down a ski
                slope, accumulated that day. Her suspicions undoubtedly started
                when . . . she passed “Area Closed” signs affixed to strewn fencing.
                If she did not know at that time her presence on Capitol grounds was
                unlawful, her awareness must have been stronger when she
                clambered over dismantled bike racks and snow fencing even closer
                to the Capitol building with their own “Area Closed” signs. If, after
                seeing those signs, she did not know her presence was unlawful after
                those signs, then surely she knew she was unlawfully present when
                she encountered a line of armored Metropolitan Police Department

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                (“MPD”) officers marching past Capitol Police officers guarding the
                Capitol building behind bike racks affixed, again, with “Area
                Closed” signs.

                Assuming, for the sake of argument, that she still did not know she
                was not permitted on Capitol grounds or in the Capitol building, she
                must have known when she arrived to the Upper West Terrace and
                met four individuals she testified she knew to have been pepper
                sprayed. Or, to enter the realm of the fabulist, perhaps it was only
                when she entered the Capitol through a broken door, an emergency
                siren blaring. These signs, and other detailed below, undoubtedly
                endowed [the defendant] with the knowledge that her presence and
                protest in the Capitol was unlawful. Nevertheless, she remained.

United States v MacAndrew, No. 21-cr-730-CKK, January 17, 2023, 2023 WL 196132 at *1-2.

(emphases in original).

        Here, and much like in MacAndrew, the government intends to present the jury with

evidence of a series of impediments to entry to the Grounds and the Capitol that the defendants

experienced personally. But the government also intends to introduce evidence of impediments to

entry that the defendants may or may not have personally observed, because that evidence is still

relevant to proving the objective existence of a restricted perimeter (an element of all of the § 1752

offenses). Contrary to the defendants’ assertions, the requirement that the government prove that

the defendants acted knowingly does not negate the government’s obligations to prove the

restricted area objectively.

        Therefore, the government respectfully requests this Court deny the defendant’s motion

for an in limine order precluding evidence of unseen signs and other implements of the restricted

perimeter.

        B. Defendants’ request to preclude all argument and evidence that the defendants
           are guilty by association should be denied.

        Embedded in the defendants’ motion is also a request to preclude argument and evidence

that the defendants are guilty “due to the criminal conduct of others.” In other words, the defense

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seeks an order precluding a guilt-by-association prosecution. The government has no intention of

putting on such a case: the government agrees with the defendants’ assertion that observing

picketing, parading, or disorderly conduct by others does not automatically mean that the

defendants engaged in the same conduct, and the government agrees that it must establish the

defendants’ guilt beyond a reasonable doubt independent of what other individuals may have done

that day. There are, however, myriad reasons why the actions of other rioters on January 6, 2021

are still relevant, admissible, and not unduly prejudicial to the defendants.

          First, in a case of this nature, it would be impossible for the government to present evidence

of the defendants’ crimes without showing, within that same evidence, crimes committed by

others.

          Second, the acts of other rioters are relevant and admissible to establishing the defendants’

knowledge and intent. Both defendants intentionally, and violently, interacted with law

enforcement officers on the Lower West Terrace after watching numerous other attacks on law

enforcement. The violence that they saw perpetrated by other members of the crowd is probative

of their mindset and intent when they approached those officers and is appropriate evidence for

the jury’s consideration.

          Third, the defendants are both charged with committing acts in furtherance of a civil

disorder, in violation of 18 U.S.C. § 231. Proving this charge against both defendants necessarily

involves proof of the civil disorder, which definitionally involves the acts of three or more persons.

See 18 U.S.C. § 232(1) (defining the term “civil disorder” as “any public disturbance involving

acts of violence by assemblages of three or more persons, which causes an immediate danger of

or results in damage or injury to the property or person of any other individual.”). Presenting the

jury with the acts of the violent mob on January 6, 2021 is a required, and essential, part of the



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government’s case.

        Fourth, parts of the government’s case are based on aiding and abetting liability. Defendant

Slaughter is charged with assaulting, resisting, or impeding certain officers using a deadly or

dangerous weapon and aiding and abetting, in violation of 18 U.S.C. §§ 111(a)(1) and (b) and 2.

At trial, the government will prove that, at approximately 4:04 p.m. on January 6, Slaughter handed

chemical spray to another rioter, and that other rioter then assaulted MPD Officer M.A. with the

spray. To succeed on an aiding and abetting theory, the government must show not only

Slaughter’s conduct in passing the spray, but what that other rioter did with it in order to prove the

offense. Here, establishing the criminal conduct of another is an element of the charged offense.

        At trial, the defendants are free to cross examine witnesses and establish what they did not

do. And the government has no intention of making blanket arguments that the defendants are

guilty merely because they were present while others engaged in criminal conduct. But to seek an

order prohibiting “all discussion of bad acts, crimes, or guilt” of others is overbroad and premature.

                                          CONCLUSION

        Accordingly, the United States respectfully asks the Court to deny the defendants’ Motion

in Limine in its entirety.




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                                  Respectfully submitted,

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